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.            Case 2:18-cv-08030-AKK Document 1 Filed 10/03/18 Page 1 of 11
                                                                                  2018 Oct-03 PM 03:10
                                                                                  U.S. DISTRICT COURT
                            IN 'THE UNITED STATES DISTRICT COURT                      N.D. OF ALABAMA

                 FOR 11!E   \\   ~    DISTRICT OF   't\~\\'f\
                     FOR THE DIVISION OF f1oc±hern
                       DOCKET NO:    Qb Di-3-~\~-':::>                                '   ..)




                                                      2:18-cv-08030-AKK
    vs.
    UNITED STATES OF AMERICA,
                           RESPONDENT


          MOTION PURSUANT TO 28 U.S. C. §2255 IN LIGHT OF THE REIROW?"'Vl<'r'T'
          OF JOHNSON V UNITED STATES, 576 U.S., 135 S.Ct 2551,(2
          PROGENY, GONZALEZ-LONGORIA V U.S., NO. 15-40041, S.GT    -\J\.d_91(
                                                       . , ,. MW,JWe.
    COMES NOW, the petitioBBr in this matter,       Ms.~'{ \'::)I\ ~
    proceeding prose, respectfully asks of this Court, to vac         (~~~
    her sentence for resentencing, as, said sentence is preIDls __
    unconstitutional statute, invalidated by the holding in the aforementioned
    cases. In support thereof she states:
                                 _ACTIO ARBITRA'RIA, AN ACTION DEPENDING
                                  ON THE DISCRETION OF THE JUDGE. POwtRFUL
                                  WORDS, HAVING AN IMMENSE AFFECT AS IT
                                  RELATES TO THE DEPRIVATION OF LIBERTY.
                                  SCOTUS, HAS NOW DEEMED THAT THOSE OFFENDERS
                                  FACING SENTENCES, OR HAVING BEEN SENTENCED,
                                  UNDER THE PROVISION OF THE "RESIDUAL CLAUSE",
                                  AS IT RELATES TO THE AFOREMENTIONED LATIN
                                  PHRASE, ARE NOT, AND DID NOT RE(cEIVE
                                  DUE PROCESS.


    When Congress enacted legislature, it was with the intenLon that any 'factor'
    causing a deprivation of liberty, should be handled via due process. It was
    never the intention for Judges, to use their sole discretion based on prospectus.
                                                                            I.
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2.
      In retrospect, due process mandates that all factors should be soluble and
     not trarrspareri.t, !As to the   1
                                          residual clause 1 ; there was so:1e form of bre2kdovJI1 .,

     somewhere along the line, that ul tima tel y led to cons ti tu honal violations .
     On~ departs from settled rules of law rather than let crimes and

     wrongs remain, especially, when there is an interpretation doubtful,

     as to liberty. The decision must be in favor of liberty. We must have
     recourse to what is extraordinary when what is ordinary fails. The

     recourse is, when it comes to those unfortunate individuals, who have

     been sentenced to enhanced sentences, based on the 'residual clause',.
     or wording similar to, we must, vacate the sentence and remand, for

     further proceedings, based solely on the holdings in not only
     Johnson, and Gonzalez-Longoria, but also Welch v U.S.                          S.CT 2016,
     as this case expressed retroactivity.



     CASE SUMMARY
                                                              I.
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,
       3.



       Johnson, with its retroactive effect; now. expressed chrough Welch,

      invalidates the statute 18 U.S.C.      924(e)(2)(b)(iii,     c:he residual

      clause of the Armed Career Criminal Act of 1984. ~he holdin~ itselfr

      affects a rule that is of a substantive rather then procedural nature,

      as it alters the range of tonduct or the class of persons that the

      law punishes.



      Wherefore, opening th.e door. to those individuals whose cases, as           to

      sentencing, are predicate on this clause, and numerous other.cases,

     where individuals have- been enhanced based on clauses, similar to

      the aforementioned clause. So, what do we do? As the Johnson ruling

     has now become retroactive, we allow those the opportunity to file

     motions pursuant to §2255 within the established tolling period,

     pursuant to Dodd. The filing cutoff technically would be (1) year

     therein as of the ruling in Welch, .but to avoid arguendo, this motion

     is timely filed within the (1) year mark, as to Johnson, the day

     the Supreme Court ruled in his favot.



    Samuel James Jchnson has made history. His case; Johnson v U.S.,

    576, U.S. 135 S.Ct 2551     192 L.Ed, 2d 569; has set a precedeni, unlike

    any other, most argueably since Booker. The Court held"· "where defendant

    pleaded guilty to being a felon in posseisidn of a firearm in violation

    of 18 USCS §922(g), and received .a (15) year prison term under the. ACCA,

    remand was warranted because imposing an increased sentence under 18

    18 USCS §924 (~)(2)(b) 's residu~l clause violaied the Fifth Amendment's
                                                           I'   I,.

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  4

  guarantee of due process sihce the indeterminacy of the 1Jide-ranoin~
                                                                            b   b


  inquiry req1Jired by the 3esidual clause both den. ed fair notice
                              _,

  to defendants and invited arbitrary enforcement by Judges.''

       OUTCOME: JUDGEMENT REVERSED AND CASE REMANDED.

 See    Martinez v U.S. 136 S.Ct 545, 11/J0/2015(1st),Maldonado v U.S.
        (5th) 2/11/H, No.15-6134,   Berry v U.S. 136, S.Ct(4th No. 15-5970
        11/2/15, Caldwell v U.S. 136 S.Ct 417 1 193 L.Ed.2d J09(6th),       .
        MCCarthren v U.S. 136 S.Ct 332 193 L.Ed. 2d 223(11th)     Mayer v US
        135 S.Ct 2942,.192 L.Ed.2d 974/9th), Jones v U.S. 135 ~-Ct 2944    ...
        TITL.Ed.ed 972 (3rd),. all vacated and remanded in light of     .
        Johnson, these all being abJu11cated 1 prior to the. ruling in
        Welch , which showed the Court s . propensity to stare decisis.

        AS THIS RELATES TO THE PETITIONER:


 The Johnson case was presumed by most to only affect those

 defenders having been enhanced undei the ACCA or Career Criminal

 provisions. But now with, Gonzalez-Longoria, who was not a career

 criminal, but was enhanced udner 18 U.S.C. §16(b), the Court felt

 that the wording was the same, or almost the same as the wording

under the residual clause. Gonzalez-Longoria received an (8) level

enhancement on his re-entry conviction, due to his previous domestic

assualt conviction. The court had deemed that said conviction, qualified

as a "crime of violence". The SCOTUS,disagreed. The U.S. Court of Appeals

for the Fith Circuit, announced on February 26, 2016, that it would

rehear a case in which a divided panel declard that the definition of

the term "crime of violence" was unconstitutionally vagu,e on its face.

(Gonzales-Longoria). The term,       trigger~d the 'aggravated felony'

provision in USSG §2L1.2(b)(1)(c), causing the enhancement.



Section §16 suffers from the same infirmities         'because at bottom,

§16 requires courts both to imagine an ordinary archetypical case
                                                                I   ~~·   1,,

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5.
and then. to judge that imagined case against precire Et2ndard. Stare

decisis has occurred in the Filih, Seventh, and Nin~n Circuits, all

declaring that 18 U.S.C.§16 is void for vagueness.                  T~e petitioner,.

('bi~ \:-\~t\'K\                   falls into the category of pe::sons who qualify

urider this rule, and states the following reasons why:
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                                                                  I.
                  Case 2:18-cv-08030-AKK Document 1 Filed 10/03/18 Page 6 of 11
    0,
I

         Anytime tf1ere is some ambigt2i~y,   espec~_ally when q 1es·~_icns of

         of Constitutional :right_s ha.ve been raised!   we mu.st ascertsin a motion

      presented by th2 petitioner,       to decide whether saiJ person is being

      held in violation of the Amendment rights, as this coLld add up to

      a trivesty of justice, if not rectified.



      These principles apply not only to statut~s defining elements of

     crimes, but also statutes fixing sentences. See U.S v Batchelder

     442, US 114, 129 99 S.CT 2198(79), This is because the Supreme Court's

     interpretation of a statute means exactly what the statute should have

     meant from the day it was enacted. quoted from U.S. v rcKie              73 F:Jd

     1149, 1151 (D.C. Cir. 1996). Judgement is not given o~ matters. ihat are

     not clear. The.Court.can not be any clearer. We have to stop issuing

     out these sentences to individualsibased on what" A judge may think"

     ~e must vacate said senterices, as they are unlawful, unjust, unfair,

     and most importantly, unconstitutional.



     Ipso facto,    even as to the issuance of a Certificate of Appealability,

    one can not use the term, "petitioner has alrea:dy filed a motion

    pursuant to 28 U.S.C. §2255, arguing the same argument already, wherefote

    petitioner is procedurally barred," becaw:;e at that time, Johnson

    nor W~lch.was ruled upon, nor, at the time,· was the s~atute deemed

    invalid and uncOLstitional. Miller-El v. Cockrell            537   U.S. 322 337 (03),

    holding:    "Obtaining a C/0/A does not require a showing that the

    appeal will succeed," and" a Court of Appeals should not decline the

    application ..... merely because it believes the applicant will not

    demonstrate an entitlement to relief." There has a.lso been uniform
    Appellate case law holding th~t an individual serving an enhanced
                                                                                                     I.
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           •
•              7.
               sentence may invoke federal habeas                        to reduce the SE~tence to the

               extent that it was lengthened by a prior unconstitutional conviction.



             The ruling in Gonzalez-Longoria, Welch and Johnson \vere not capricious.

             SCOTUS has shown a propensity towards this                                 'change of law' since

           Descamps and even Apprendi.Where in. those cases, it was never about

           guilt or innocence. It was about factors,                                  that play a role in one's

           liberty. When the waters are muddy, we clear it, so that we can see

           thro0gh it. Law is the same. If it is not clear, SCOTUS makes a

           determination, and the decision is                           'the law of the land.'. A determination

           has been made, and because of said law, Ms.                                  -\::'\Q;f\\S'S)
                                                                                             •
                                                                                                                sentence,

           must be ~ac~ted and remand~d, for further proceedings.



           In closing, tacita quaedom habentur pro expressis.· Certain things

           though unexpressed, are considered expressed.



        Respectfully,

             0.X\'( \~\\'\\e
                                        CERTIFICATE OF SERVICE

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       the hereto motion was placed in the prison m~il.b.ox en     '--L\J>J~ ,
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United States
v.                                        Case number: 2:08-cr-00313-
                                                       IPJ-RRA-2
Christine Mckim



Memorandom Attachment to 2255 Johnson Supplement to 2255


     Comes now, Christine Mckim, prose.        Mckim was enhacement

as a repeat offender by 5 points. Pursant to 451.5 repeat and

dangerous sex offense against minor if the defendant's instant

offense of conviction is a covered sex crime. Counts 1-21 ... dotnot

meet the requriements for the 5 point enhancement that was given

for pattern of activity. The Johnson case has addressed enhancements

for priors and Mckim has NONE.      There has not been a pattern
of any activity. Therefore her offense level         that is a 51 is

incorrect. Mckim did not have any prior sex offenses and it            was

noted in her PSI that this did not apply to her yet she was            still

given these points. The Johnson descision, has changed how the

courts should look at each~case.Johnson conclueded that the

process of determining what is embodied in the ordinary case.

rilthercthan "real world facts" is factually flawed rending

enhacements uncontitutionally vauge. "Grave uncertainty"
surrounds the method of determing the risk posed by Judicially

imagined ordinary case. Johnson @2257. The residual Clause offers

no reliable way to choose between competing accounts of what

"ordinary" involves," ID 2258. The Johnson court considered

and rejected different ways that a court might envision          the

hypothetical ordinary case since the statute offers no guidance
                                                         I.
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Specifically, the court explained that a statistical analysis

of reported cases, surveys, expert evidence, google and get

instinct are all equalley unreliable in determing the ordinary

case. ID@ 2257,quoting United States v Mayer,560 f.3D•948 952

(9th Cir.09). Mckim's counts were also "Grouped" into 6 groups

but yet sentenced to each individual count. This is another

enhancement that is a direct violation of her rights.· It is

unconstitutionally vage as to the reason for the groups other

than an additional enhancement that should be        only applied

to a repeat offender just like the pattern of activity enhancement

Johnson has concluded that the statistical        and "common sense"

methods have "failed to establish any generally applicable test

that prevents the risk comparison requried by the risidual clause

from delving into guess work and intuition. "Johnson@ 2259

( referring to   Chambers v United states, 555 US 122 (2009),

and Sykes v United states, 564 US 1 (2011). This flaw alone
establishes the Risidual clause's and enhancements, unconstitutionally

vauge. This also falls into     Double Jeopardy and multplicity.

All of these jnhantem,pts that~kte vauge and unconstitutionally
vague do. not apply to Mckim and are the only way she was given

an unjust sentence of    450 years for a frist time offender.

Mckim'~was also given a 4 point enhancement for sdo which this
also fits unto the unconstitutionally vagueness that the Johnson

case has referenced.    Again gut insticts are flawed and are

equally unreliable in determing what is and is not in this catagoory.

Mckim had no control or willingness in any way of the situations

that have been charged against her. ,Mckim was forced to do what

she was told. Her co-defendant had made serval threats         to harm
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her and her children. He was arrested on one instince. Under
the 18 U.S.C. 924:(c) (3) (A) is consider" force clause"           (A)
a felony that" has as an element that use, attempted use, or

threatened use of physical force against the person or property

of another," or (b) a felony" that by its nature involves a

substantial risk that physical force against the person or,,

property of another may be used in the course of committing

the offense 18 U.S.C 924 (c)(3) (a) is refered to as the force clause

whereas 18 U.S.C 924 (c) (3) (B) is referred to as the "residual

clause". United States v Brown (13-1706) (2nd Cir June 14, 2016)

At sentencing the district court sentenced Brown to 60 yeats

imprisonment ( three 20 year sentence to be run consecuoivly)

The court noted Brown allegedly     "destroyed the lives of 3

specific children" .. The children in Brown~.scase had " no knowledge

of being victized by Brown." So there was no"negative impact".

The court concluded that it was appropriate to remand for resentecing

to ensure that the sentence is not based on erroneous         understanding

of the facts. Although the court expressed no definitive views

on the subtantivie reasonableness of the eziginal sentence
imposed, the court respectfully suggest that the        district court

consider .whether an effective life sentence is watranted in this

case. Mckim's enhancements should not include the 5 points for
pattern of activity nor the 5 auit8.,for the groups. She should

a!~o not have the 4 point~enhancement for sado which she was

forced into. Mckim sentence has been run consective to be a

life sentence without the merits to make this even possible
""'"'·"°'."-""-"''· ... - - · • · - ~ . ~ - . , . . . , : 1 ' ·         .~],:-'~~-~~-~-~~;:           Si   ~   .fl:T""r~;   .•,,,,~,_f!/~~S.,~,';_:•,·~-

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